Case 7:20-cv-00416-EKD Document 5 Filed 07/31/20 Page 1 of 12 Pageid#: 11



                                                                                       G.
                                                                                        EM : OFFICE tl.s. ols'r.couK r
                            COM MO NW EALTH O F VIRG INIA                                   AT RIIM Oi (E, VA
                                                                                                       FILED
                          STATE CORPORATIO N CO M M ISSIO N
                                                                                                JUL 3 1 222
                                           July 29,2020                                     J
                                                                                          BK       D LES
                                                                                                   .
                                                                                                       M RK
   United States DistrictCourtforthe W estern DistrictofVirginia                                         C RK
   210 Franklin Rd SW
   Roanoke,VA,24011,United States
Re:Nelson Barre and Danielle Barre
   v.DCN Holdings,Inc.

   Case orM atterNo.:7:20-cv-00416

                              C ERTIFICATE O F CO M PLIA NC E

Ihereby certify that in Richm ond,Virginia on July 28,2020,the following process in the
above-styled m atter was served on m e as statutory agent for DCN Holdings, Inc.
in accordance with j 12.1-19.1 ofthe Code ofVirginia by Priority mail,and thaton July
29,2020,a copy ofthe Service ofProcess was sentby first-class United States m aïlto:

  DCN Holdings,Inc.
  1806 33rd St.,Suite 180
  Orlando,FL,32839,United States

A copy ofthe requestofthe person seeking service is also subm itted herewith.

Dated:July 29,2020

                                             Sincerely,


                                                   M                -
                                             Bernard J.Logan
                                             Interim Clerk ofthe Com m ission




                                  P.O.Box 1197,Richmond,VA 23218-1197
                  TylerBuilding,FirstFloor,1300EastMainStreet,Ri
                                                               chmond,VA23219-3630
           Clerk'
                sOfhce(804)371-9733or(866)722-2551(toll-freeinVirginia)www.scc-virginia-gov/clk
                Case 7:20-cv-00416-EKD Document 5 Filed 07/31/20 Page 2 of 12 Pageid#: 12
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  .     =v.                                     COM MONW EALTH OF VIRG INIA
SO P-19.1 .                                   STATE CORPORATION COMM ISSIO N
(1B/19)
                              SERVICE OF PROCESSnNOTICE, ORDER O R DEMAND      .
                           ON THE CLERK OF THE STATE CORPORATION COM M ISSIO N
                                          AS STATUTORY AGENT
      Service on the Clerk ofthe State Corporation Comm ission relates to the following proceeding:
      style ofproceeding: Nelson and Danielle Barre v.DcN Holdings,Inc.
                                    -

                                                  (e.g.nameoftheplaintiffvs.nameofthedefendant,orInthematterof...,etc-)
      Proceeding pending in: US DistrictCourtfbrthe W estern DistrictofVA,Roanoke
                      '
                                                  (Juri
                                                      sdiction)                             (NameofCourtorTri
                                                                                                            bunal)
      courss case /MatterNo.. 7:20-cv-00416
      Court,sAddress: 210 Franklin Rd SW ,Roanoke,VA 24011                                                                                 .
                                                  (Mai
                                                     lingAddress)
2. Service on th'
  '
                : Clerk ofthe State Corporation Com mission is bein-g made pursuantto Virginia   .


      Code jj 12.1u'
                   19.1and (mark theappropriate box):                               Eseethelistructionsformoreinformationl
               13.1-637B     C1 13.1-928B          X ' 38.2-801            .. ..                          r7150-73.58:1c
           #.13.1-7j8 F      F7
                              .., 13.1-929E        171 38.2-809                             --
                                                                                            .             C1-.. 50-73.59E
          IN 13.1-766B       177 13.1-930D         r.
                                                    3
                                                    . 38.2-1216                                           IN 50-73.134 F
          X 13.1-767D        F-113.1-1018B         X.'.38.2-5103. .                                       r.-.1 50-73.135G
          N 13.1-748D        U7
                              .. 13.1-1056D        C1l 50-73.7 B ''        .                              r.7. 50-73.139
          IN 13.1-836B       N.f13.1-1056.1C       F7
                                                    .. 50-73.58D.                                         r7 50-73.140
          r;7. 13.1-920E     r7. 13.1-1057E
          X OtherVirginiaCodesectionorstatutoryauthority(specify):
3. Pursuantto t e oregolng ega aut ori
                                     ty,the Clerk ofthe Com m ission is being served as
   statutory agentof DCN Holdings,Inc.                                                                                                     ,

                                        . '
                                              .                     (nameofdefendantIbusinessenti
                                                                                                ty)                '

      whose m ailing address forthis service ofprocess is                           (oneaddressperform.seeInstructions.!
      1806 33rd St.,Suite 180 Orlando,Florida 32839
               (number/street,P.O.Box,RuralRqutefetc-) '                    (ci
                                                                              tyortown)                  (state)            (zipcode)

4. The Clerk's Officeshould mailitsreceipt(orrejectionIetter)to:
      Nam e: The Thom as Law Office,PLC
      Attn:
      Address: 1113O Fairfax Blvd.,Ste.200, Faidax,VA 22030
                              (number/street,P.O.Box,RuralRoute,etc-)               (cityortown)           .      (state)      (zipcode)
      TelephoneNo:(703)957-2577                                     Email:mthomas@ thomaslawplc.com
                                        (opti
                                            onal)                                                    (optional)
                                THR EE C OPIES O F THIS FO RM M UST B E SUB M ITTED
                                W ITH TW O COPIES OF THE PAPERS TO BE SERVED
                          REVIEW THE INSTRUCTIO NS BEFORE SUBM ITTING THIS FORM
            & >
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        Case 7:20-cv-00416-EKD Document 5 Filed 07/31/20 Page 3 of 12 Pageid#: 13
           Case 7:20-cv-00416-EKD Docum ent2 Filed 07/17/20 Page 1 of2 Pageid#:8

AO440(Rev.06/12)SummonsinaCivilAction

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                                                     forthe
                                           WesterllDistrictofVirginia Z/
                                                                       V'
                     NELSO N BARRE
                    DANIELLE BARRE



                                                              CivilAction N o. 7 J20cv004 16

                   DC N HOLDING S,INC.




                                         SUM M ONS IN A CIVIL ACTION

To:pefendant'snt
               zlp.
                  candaddress)Registered Agent:Karja Brown
                               1806 33rd Street
                               Suite 180
                               ORLANDO,FL 32839



        A lawsuithasbeen filed againstyou.

        W ithin21daysafterserviceofthissummonsonyou(notcountingthedayyoureceivedit)= or60daysifyou
aretheUnited StatesoraUnited Statesagency,oran officerorem ployeeoftheUnited Statesdescribedin Fed.R.Civ.
P.12(a)(2)or(3)- you mustserveontheplaintiffananswertotheattachedcomplaintoramotionunderRule12of
theFederalRulesofCivilProcedure.Theanswerormotion mustbe served on theplaintifforplaintiff'sattorney,
whosenam eand addressare:
                               D.MARGEAUX THOMAS
                               THE THOMAS LAW OFFICE,PLC
                               11130 FAIRFAX BLVD.,STE 200
                               FAIRFAX,VA 22030


        lfyoufailtorespond,judgmentby defaultwillbeenteredagainstyouforthereliefdemandedin thecomplaint.
You also mustfileyouranswerormotion with the coul'
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        Case 7:20-cv-00416-EKD Document 5 Filed 07/31/20 Page 4 of 12 Pageid#: 14
            Case 7:20-cv-00416-EKD Docum ent2 Filed 07/17/20 Page 2 of2 Pageid#:9

AO440(Rev.06/12)SummonsillaCivilAction(Page2)
CivilAction No. 7 :20cv004 16

                                                 PROOF OF SERVICE
                 (Thissecdon shouldnotbejiledwitk thecourtunlessvequiredby Fe#.R.Civ.P.4(13)
       Thissummonsfor(nameofindividualandtitle,ycnyl
wasreceived by me on (date)

         (
         D Ipersonally served the summonsontheindividualat(place)
                                  /'




         O Ileftthe summonsattheindividual'sresidenceorusualplaceofabodewith (nanle)
                                                  aperson ofsuitableageand discretion who residesthere,
         on (date)                 ,and mailed a copy to theindividual'slastknown address;or

         O Iserved thesmnm onson (nameofindividuan        l                                          ,who is
         designatedby law to acceptservice ofprocesson behalfof(nameoforganization)


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Additionalinfolmvtionregardingattemptedservice,etc:
Case 7:20-cv-00416-EKD Document 5 Filed 07/31/20 Page 5 of 12 Pageid#: 15
   Case 7:20-cv-O0416-EKD Document1 Filed 07/17/20 Page 1 of6 Pageid#:1



                IN TH E UNITED STATES DISTRICT C O URT FO R TH E
                         W ESTER N DISTRICT OF W RG INIA
                                     (RoanokeDivisiop)



N ELSON Ar      DAN IELLE BARRE

       Plaintiff,

                                                  CaseN o.: -7:20Cv00416

D CN H OLDING S,IN C.                             JURY TRIA L DEM AN D

       D efendant.


                                       CO M PLM NT
       COM ES N OW the Plaintiffs,N elson and Danielle Barre, by and tllrough undersigned

counsel,D .M argeaux Thom asofThe Thom asLaw Office,PLC,and hereby files this Com plaint

againstDefendant,DCN Holdings,Inc.d/b/aAccountsReceivable(IEDCN''or(r efendanf'),and
insupporthereofstasesasfollows:

                                     INTR ODU CTION

       TheFederalDebtCollectionPracticesAct(CTDCPA'')imposesspecifcrequirementson
debt collectors in their attem pts to collect a debt. The purpose of the FDCPA is to protect

consum ers'privacy andprohibitabuse,deception,and unfairpractices. The rightsand obligations

established by Section 1692g ofthe FD CPA were considered by the Senate to be a Gtsignitscant

feature''of the A ct. Am ong the unfair and deceptive practices that the FD CPA prohibits is

com m unication w ith a consum erw ith know ledgethatthe consum erisrepresented by an attorney.


                                  Jurisdiction and V enue

              ThisCourthasjurisdictionpursuantto28U.S.C.j1331and 1367.
Case 7:20-cv-00416-EKD Document 5 Filed 07/31/20 Page 6 of 12 Pageid#: 16
   Case 7:20-cv-00416-EKD Document1 Filed 07/17/20 Page 2 of6 Pageid#:2


                                           Parties
       2.      The Plaintiffs,N elson and D anielle Barre,are naturalpersons and are V irginia

residents.

       3.      DefendantD CN H oldingsInc.isaFlorida corporation doingbusinessasEW ccounts

Receivable''thatisactivelycollecjipgdebtsofVirginiaresidents.

                                   STATEG N TS OF FA CT

       4.      InM ay of2018,thePlaintiffshiredLongDistanceVanLines(:tDW w'')tomove
theirhousehold goodscross-country from Oregon to Roanoke County,V irginia.

               On April 19,2018,the Plaintiffs received a GEbinding m oving estim ate''totaling

$6,373.75.
       6. .    Despitethe$6,373.75ççbinding''estimate,LDVL charged thePlaintiffs$9,644.10
on the day ofthe m ove.

               lncluded in the$6,373.75 estimate wasa Içguaranteed''move date,which LDVL
failedto meetby threeweeks.ThePlaintiffspaid a$600 feefortheEEguarantee.''LDVL failedto
refund the $600 fee and failed to creditthe Plaintiffsforthe daysthatthey missed the moving
deadline.

       8.      Afterbeing unfairly m anipulated into paying a gross overcharge on theirm oving

day,the Plaintiffs disputed the portion of the $9,644.10 charge that exceeded the Gçbinding''
estim ate w ith theircreditcard carrier.

       9.      ThePlaintiffswereawardedacreditof$3,270.35 from theircreditcard canier.
               Soon after the m ove and credit card charge-back,LD'
                                                                  VL hired the D efendantto

collecta $5,500debtfrom thePlaintiffs.Upon informatiön and belief,LDVL and theDefendant
m ore than doubled the am ountin dispute in an effortto punish the Plaintiffs forstanding up to

LDVL'Sunfairand deceptive businesspractices.
Case 7:20-cv-00416-EKD Document 5 Filed 07/31/20 Page 7 of 12 Pageid#: 17
   Case 7:20-cw O0416-EKD Document1 Filed 07/17/20 Page 3 of6 Pageidf:3


               The Defendant sent collection letters and collection em ails to the Plaintiffs in

severalattemptsto collect$5,500 on behalfofLDVL.TheDefendantalso repeatedly called the

Plaintiffs'cellphonespressuring thePlaintiffsto pay the false debt.

               O n October 29, 2018 and Novem ber 27, 2018 Plaintiffs' counsel sent dem and

lettersto both LD VL and D efendantwhich stated:EduntileithertheBarresorthis1aw oftsceadvises

you otherwise,please do notconàcttheBarresdirectly.''

               The aforementioned demand letters also outlined the reasons why the $5,500
purported debtw asnotowed to theD efendantorLDVL.

               D efendant continues to contactthe Plaintiffs by em aildem anding the purported

$5,500debtevenafterclearnotifcation from anattom eythatthePlaintiffsarerepresented.


 COUNT 1-FAIR DEBT COLLECTION PM CTICESACT (FDCPA)- 15U.$.Codej
                                         1692 et.seq.

   A. ViolationofFDCPA,15U.S.Codej1692c(a)(2)
       15.     The allegationscontained in a1lpreceding paragraphs are incorporated herein as if

re-alleged.

       16.     D CN is a ççcollector''as defined by the FederalD ebtCollection Practices Act,15

U.S.C.j1692(a)(6).
               FDCPA j 1692(a)(2) states that a debt collectorlike the defendant cannot
com m unicate w ith a consum er Icifthe debt collector know s the consum er is represented by an

attorney w ith respectto such debtand hasknow ledge of,orcan readily ascertain,such attorney's

nam e and address...''

       1.8.    ln the instantcase,D efendantsentseveralcollection com m unicationsby letterand

em ailto the PlaintiffsafterPlaintiffs'counselsentdem and lettersrequesting thatcom m unication

with the Plaintiffsonly occurthrough Plaintiffs'counsel.Thesecom m unications include:
Case 7:20-cv-00416-EKD Document 5 Filed 07/31/20 Page 8 of 12 Pageid#: 18
   Case 7:20-cv-O0416-EKD Docum ent1 Filed 07/17/20 Page 4 of6 Pageid#:4


               a. Novem ber 12,2018 collection letter

               b. D ecem ber 19,2018 debtcollection em ail

               c. April15,2019 debtcollection em ail

               d. A pril19,2019 debtcollection em ail

               e. M ay 3,2019 debtcollection em ail

               f. M arch 9,2020 debtcollection em ail

               A saproxim ateresultofD efendant'sviolation ofSection 1692c ofthe FederalDebt

Collection Practices Act,a strict liability provision,Plaintiffs have suffered em otionaldistress,

frustration,aggravation,and otherdam ages.

   B. ViolationofFDCPA,15U.S.Codej1692e(2)(A)
       20.     The allegationscontained in allpreceding paragraphs are incorporated herein asif

re-alleged.

       21.     D CN is attem pting to collect a debtthat hasno basis in c6ntractor 1aw from the

Plaintiffs.$5,500,1sm orethan theamountthe Plaintiffsreceived in refund from theirbank card
dispute.The Plaintiffstold DCN aboutthe nature ofthe dispute,so DCN had to have known that

$5,500 was a number that was never contracted for, and that LDVL unlawfully fabricated.
Plaintiffs'counselalso notified DCN thatthe purported debtw asunlawful.

       22. FDCPA j1692e(2)(A)prohibitsadebtcollectorfrom falserepresentation ofthe
character,am ount,orlegalstatus ofany debt.

               DCN'Sconstantattemptto collectafalse$5,500 debtisin clearviolation ofj
1692e(2)(A).
       24.     A s à proxim ate resultofD CN 'Sviolative conduct,the Plaintiffs suffered concrete

harm includingemotionaldistress.DCN threatenedtoreportthe$5,500falsedebtonthePlaintiffs'
creditreports,athreatthatcaused severe em otionaldistresstothePlaintiffswhilethey w eretrying

to purchase ahouse.
    Case 7:20-cv-00416-EKD Document 5 Filed 07/31/20 Page 9 of 12 Pageid#: 19
       Case 7:20-cv-00416-EKD Documènt1 Filed 07/17/20 Page 5 of6 Pageid#:5
%


           WHEREFORE 11-IS REQUESTED THAT thisHonorable Courtrenderajudgmentin
    favorofPlaintiffsagainstDefendantintheamountof$20,000fora1lreasonabledamagessustained

    hy Plaintiffs, including,but not limited to, damages for emotional distress,frustration, and
    aggravation,reasonable attorney's fees,courtcosts,and any further reliefthatthis Courtdeem s

    justandproper.

                                       PM YER FO R RELIEF

           W H EREFO RE,Plaintiffsrespectfully praysthisCoul'tforreliefasfollow s:

           A.      JudgmentagainsttheDefendantin theam ountin a sum of$20,000 orin asum to
    be detenuined attrial.

           B.      For allreasonable dam ages sustained by Plaintiffs,including,butnot lim ited to,

    statutory dam ages,actualdam ages,and com pensatory dam ages associated with inconvenience,

    em otionaldistress,m entalanguish,frustration,and aggravation;

                   Forcosts incurred in pursuantofthisaction;

           D.      Forreasonable attorney'sfees;and

           E.      A ny and a1lotherreliefto which itm ay appearthe Plaintiffsare entitled including
    trialbyjury.
K
    Case 7:20-cv-00416-EKD Document 5 Filed 07/31/20 Page 10 of 12 Pageid#: 20
       Case 7:20-cv-O0416-EKD Document1 Filed 07/17/20 Page 6 Of6 Pageid#:6


    Dated:July 17,2020



                                           Respectfully Subm itted,


                                           /s/D .M areeaux Thom as
                                           D.M argeauxThomas(VSB #75582)
                                           The Thom asLaw Office PLC
                                           11130FairfaxBlvd.Suite200
                                           Fairfax,VA 22030
                                           Telephone:703.957.2577
                                           Facsim ile:703.957.2578
                                           Email:mthomas@thomaslawplc.com
                                           CounselforPlaintf 4D-Enterprises,LLC
                   Case 7:20-cv-00416-EKD Document 5 Filed 07/31/20 Page 11 of 12 Pageid#: 21
                       Case 7:20-cV-O0416-EKD Docum ent1-1 Filed 07/17/20                                                           Page1of1 Pagei8/2
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pumoseofinitiatingthecivildockctsheet. (SEEINSTRUCTIONSONNEXIMPAGEOFTHISFORM)
1.(a) PLM NTIFFS                                                                                     DEFENDANTS
        NELSON BARRE                                                                                   DNC HOLDINGS,lNC
        DANIELLE BARRE
        (b) Cot
              mtyofResidenceofFirstListedPlaintiff Roanoke County                                     CountyofResidenccofFirstListedDefendant
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D.M argeaux Thomas ,TheThomas Law Office PLC,11130 Fairfax
Blvd.,Sui
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                                        .703.957.2577

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O 190OtherContract                      ProductLiability      C;380OtherPersonal           O 720LaborN anagelncnt                   O 863DIWC/DIWW (405(g))       ProtectionAct
D 195ContractProductLiability O 360OthcrPcrsona!                     PropertyDamage                 Relations                       O 864SSID TitleXVI          D 490Cable/satTV
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